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                              UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA


                                      CRIMINAL MINUTES

 Date: December 22, 2022        Time: 14 minutes                Judge: LAUREL BEELER
 Case No.: 20-cr-00249-RS-1 Case Name: UNITED STATES v. Rowland Marcus Andrade

Attorney for Plaintiff: Andrew Dawson
Attorney for Defendant: Michael Shepard, Kerrie Dent, and Cindy Diamond

  Deputy Clerk: Elaine Kabiling                     Zoom Recording Time: 9:46 – 10:00
  Interpreter: N/A


                                          PROCEEDINGS

Motion hearing held. Matters are argued and submitted. Court to issue order.




EXCLUDABLE DELAY:
Category
Begins
Ends
